                            UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF PENNSYLVANIA
Re:
        CLARENCE DANNY TARVIN                                Case No.: 5-19-01087-MJC
                                                             Chapter 13
                      Debtor(s)

                                   NOTICE OF FINAL CURE PAYMENT

Pursuant to the Fed. Bankr. Rule 3002.1(f), the Trustee gives Notice that the amount required to
cure the pre-petition default in the below claim has been paid in full and the Debtor(s) have
completed all payments under the plan.

PART 1:                             MORTGAGE INFORMATION
Creditor Name:                      BANK OF AMERICA
Court Claim Number:                 06
Last Four of Loan Number:           5568/PRE ARREARS/1432 CLOVER RD
Property Address if applicable:     125 EMERALD LAKE DRIVE, , LONG POND, PA18334

PART 2:                            CURE AMOUNT
TOTAL CURE DISBURSEMENT MADE BY THE TRUSTEE
a. Allowed prepetition arrearages:                                            $229.15
b. Prepetition arrearages paid by the Trustee:                                $229.15
c. Amount of postpetition fees, expenses, and charges recoverable
   Under Bankruptcy Rule 3002.1(c):                                           $0.00
d. Amount of postpetition fees, expenses, and charges recoverable
   Under Bankruptcy Rule 3002.1(c) and paid by the Trustee:                   $0.00
e. Allowed postpetition arrearage:                                            $0.00
f. Postpetition arrearages paid by the Trustee:                               $0.00
g. Total b, d, f:                                                             $229.15

PART 3:                      POST PETITION MORTGAGE PAYMENT
Paid direct by the Debtor(s)
Current Monthly Mortgage Payment: $0.00
Next postpetition payment due:
If known, Principal Balance Outstanding: UNKNOWN

PART 4:               A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)

Within 21 days of the service of this Notice, the creditor must file and serve same on debtor,
debtor’s counsel and trustee, pursuant to Fed. Bankr. Rule 3002.1(g), a statement indicating
whether it agrees that the debtor has paid in full the amount required to cure the default, has paid
all outstanding post-petition fees, costs or escrow amounts due, and whether, consistent with
§1322(b)(5) of the Bankruptcy Code, the debtor is current on all post-petition payments as of the
date of this Notice or be subject to further action of the court including possible sanctions.


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To assist in reconciling the claim, a history of payments made by the Trustee is attached to copies
of this Notice sent to the Debtor and Creditor.

I certify that the information contained herein is true and correct to the best of my knowledge,
information and reasonable belief.

Dated: September 12, 2022                        Respectfully submitted,

                                                 /s/Jack N. Zaharopoulos
                                                 Standing Chapter 13 Trustee
                                                 Suite A, 8125 Adams Drive
                                                 Hummelstown, PA 17036
                                                 Phone: (717) 566-6097
                                                 Fax: (717) 566-8313
                                                 eMail: info@pamd13trustee.com




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Creditor Name: BANK OF AMERICA
Court Claim Number: 06
    CLM #   CHECK #     DATE        PRIN PAID        INT PAID   TOTAL DISB

    5200    1221123    09/17/2020     $229.15        $0.00       $229.15




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Re:
      CLARENCE DANNY TARVIN                           Case No.: 5-19-01087-MJC
                                                      Chapter 13
                      Debtor(s)


                                  CERTIFICATE OF SERVICE
 I certify that I am more than 18 years of age and that on September 12, 2022, I served a copy
 of this Notice of Final Cure and History of Payments made on the following parties by 1st Class
 mail, from Hummelstown, PA unless served electronically.

 PHILIP W. STOCK, ESQUIRE                            SERVED ELECTRONICALLY
 706 MONROE ST.
 STROUDSBURG PA, 18360-


 BANK OF AMERICA                                     SERVED BY 1ST CLASS MAIL
 PO BOX 31785
 TAMPA, FL, 33631-3785


 CLARENCE DANNY TARVIN                               SERVED BY 1ST CLASS MAIL
 125 EMERALD LAKE DRIVE
 LONG POND, PA 18334



 I certify under penalty of perjury that the foregoing is true and correct.


 Date: September 12, 2022                            /s/ Liz Joyce
                                                     for Jack N. Zaharopoulos
                                                     Standing Chapter 13 Trustee
                                                     Suite A, 8125 Adams Drive
                                                     Hummelstown, PA 17036
                                                     Phone: (717) 566-6097
                                                     Fax: (717) 566-8313
                                                     eMail: info@pamd13trustee.com




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